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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Clarksburg Division

 HARRY GINGOLD,

                     Plaintiff,

 v.                                                          Civil Action No.: 1-23-cv-91
                                                             Judge Thomas S. Kleeh

 WEST VIRGINIA UNIVERSITY
 BOARD OF GOVERNORS, E. GORDON GEE,
 MARYANNE REED, GREGORY DUNAWAY,
 and EARL SCIME,

                     Defendants.


                                  DEFENDANTS’ MOTION TO DISMISS

         Defendants West Virginia University Board of Governors (the “WVUBOG”), Gordon

 Gee, Maryanne Reed, Gregory Dunaway, and Earl Scime (collectively, “Defendants”), by

 counsel, move to the dismiss Plaintiff’s Amended Complaint (Doc. No. 8) for failure to state a

 claim upon which relief can be granted pursuant to Federal Rule of Civil Procedure 12(b)(6).

 Plaintiff Harry Gingold brings this action, asserting the following claims against Defendants: (1)

 age discrimination in violation of the ADEA; (2) retaliation in violation of the ADEA, Title VI,

 and/or Title VII of the Civil Rights Act; (3) violations of due process under 42 U.S.C. § 1983;

 (4) breach of contract and/or breach of implied covenant of good faith and fair dealing; and (5)

 hostile work environment. Plaintiff’s Amended Complaint fails as a matter of law as a result of

 sovereign immunity, qualified immunity, failure to exhaust administrative remedies, and failure

 to state a claim upon which relief may be granted under the various constitutional, statutory, and

 common law causes of action that Plaintiffs asserts. Defendants reference and fully incorporate




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 their supporting memorandum of law into this motion and respectfully request that the Court

 grant this Motion and dismiss Plaintiff’s Amended Complaint in its entirety with prejudice.

                                             Respectfully submitted,

                                             WEST VIRGINIA UNIVERSITY BOARD OF
                                             GOVERNORS, E. GORDON GEE,
                                             MARYANNE REED, GREGORY DUNAWAY,
                                             and EARL SCIME,

                                             By Counsel,



 /s/ Wendy G. Adkins
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 WEST VIRGINIA UNIVERSITY
 BOARD OF GOVERNORS, E. GORDON GEE,
 MARYANNE REED, GREGORY DUNAWAY,
 and EARL SCIME,

                     Defendants.

                                   CERTIFICATE OF SERVICE

         I, Wendy G. Adkins, counsel for Defendants, hereby certify that the foregoing
 “DEFENDANTS’ MOTION TO DISMISS” was electronically filed with the Clerk of the Court
 using the CM/ECF system, on this 20th day of December 2023, and served upon the following
 by U.S. Mail postage paid:


                                       Harry Gingold (pro se)
                                         264 Lakeside Drive
                                   Morgantown, West Virginia 26508




                                               /s/ Wendy G. Adkins
                                               Wendy G. Adkins, Esquire (WVSB # 9412)




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